Case 3:98-cr-00110-REP Document 338 Filed 08/12/21 Page 1 of 3 PageID# 2218




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )       Criminal Number: 3:98CR110-REP
                                             )
SPENCER BOWENS,                              )
                          Defendant.         )


                            DEFENDANT’S APPLICATION
                     FOR ISSUANCE OF SUBPOENA DUCES TECUM

       COMES NOW the defendant, Spencer Bowens, by counsel, pursuant to Rules 17(b) and

(c) of the Federal Rules of Criminal Procedure, and respectfully moves the Court for an Order

directing the clerk’s office to issue a subpoena duces tecum for

       James Petrucci, Warden, and/or his Agent
       FCI Otisville
       Federal Correctional Institution
       P.O. Box 600
       Otisville, NY 10963

to produce

   1. Documents or records indicating the number of staff persons working at FCI Otisville--
       including the medium security federal correctional institution, the adjacent minimum
       security satellite camp, and the adjacent federal detention center—as of the time of this
       subpoena being served.

   2. Documents or records indicating the number of incarcerated individuals in Spencer
      Bowens’ unit that are not vaccinated against COVID-19 as of the time of this subpoena
      being served.

   3. Documents or records reflecting the number of individuals in the current inmate
      population of FCI Otisville--including the medium security federal correctional
      institution, the adjacent minimum security satellite camp, and the adjacent federal



                                                 1
Case 3:98-cr-00110-REP Document 338 Filed 08/12/21 Page 2 of 3 PageID# 2219



        detention center—that are fully vaccinated against COVID-19 as of the time of this
        subpoena being served.

   4. Documents reflecting the circumstances in which Bureau of Prisons employees or
      contractors at FCI Otisville test employees, contractors, inmates, and visitors at FCI
      Otisville for COVID-19 as of the time this subpoena being served.

in the Office of the Clerk, 3rd Floor, United States District Courthouse, 701 E. Broad Street,

Richmond, Virginia 23219, on or before Friday, August 27, at 12:00 noon.

        In support of this application, Mr. Bowens sets forth that James Petrucci, Warden, and/or

his agent, is in possession of documents necessary for determining how he should proceed in this

case.

        Pursuant to the requirements of Federal Rule of Criminal Procedure 17, as set forth in

United States v. Beckford, 964 F.Supp. 1010, 1016, 1027 (E.D.Va. 1997), in support of this

application, the defendant sets forth that the records are needed to aid Mr. Spencer in litigating

the pending compassionate release motion under § 603(b) of the First Step Act in this case. The

defendant represents that the requested documents are evidentiary and relevant, that they are not

otherwise procurable reasonably in advance of the hearing by exercise of due diligence; that the

defendant cannot properly argue at his motion without such production and inspection in

advance of the hearing and the failure to obtain advance inspection of these records may tend

unreasonably to delay the proceedings; and, that the request for these records is made in good

faith and is not intended as a general fishing expedition. See United States v. Nixon, 418 U.S.

683, 699-700 (1974).

        The defendant further represents, in accordance with the analysis set forth in United

States v. King, 194 F.R.D. 569 (E.D.Va. 2000), that his request is relevant and the documents

requested are both admissible and specific in nature. The documents are relevant in that they are


                                                 2
Case 3:98-cr-00110-REP Document 338 Filed 08/12/21 Page 3 of 3 PageID# 2220



necessary for litigating the pending compassionate release motion under § 603(b) of the First

Step Act in this case. These documents are admissible under Fed. R. Evid. Rule 803(6) in that

they are records kept in the ordinary course of business. The request is specific in nature in that

it requests records for specific information during a specific time frame.

       The defendant represents that he is in the same financial condition as when counsel was

appointed to represent him in this matter, and he remains unable to pay any fees related to the

production of the documents, and that the production of the requested documents is necessary to

his defense.

       WHEREFORE, the defendant requests that this Court order James Petrucci, Warden,

and/or his agent, to produce the requested records in the office of the Clerk, United States

District Court, 701 East Broad Street, 3rd Floor, Richmond, Virginia 23219, on or

before Friday, August 27, at 12:00 noon, and that the defendant be allowed to copy the

documents for use in his case in chief.

                                                      Respectfully submitted,
                                                      SPENCER BOWENS

                                              By:              /s/
                                                             Counsel

Laura J. Koenig, Esq.
Assistant Federal Public Defender
VA Bar No. 86840
Counsel for Defendant
Office of the Federal Public Defender
701 E. Broad Street, Suite 3600
Richmond, VA 23219-1884
Ph. (804) 565-0881
Fax (804) 648-5033
Laura_koenig@fd.org




                                                 3
